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 1                                                            JUDGE RICARDO S. MARTINEZ
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 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE
 8   UNITED STATES OF AMERICA,                    )    NO. CR07-0029RSM
                                                  )
 9                   Plaintiff,                   )
                                                  )    ORDER GRANTING MOTION TO
10                   v.                           )    WITHDRAW AND TO SUBSTITUTE
                                                  )    CJA COUNSEL
11   THU VAN NGUYEN,                              )
                                                  )
12                   Defendant.                   )
                                                  )
13
            THE COURT, having considered the motion to withdraw and to substitute counsel
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     based on a conflict of interest, and having reviewed the declaration of counsel in support of
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     the motion,
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            HEREBY ORDERS that Assistant Federal Public Defender Peter J. Avenia and the
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     Office of the Federal Public Defender shall be permitted to withdraw as counsel in this
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     matter.
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            IT IS FURTHER ORDERED that substitute CJA counsel shall be appointed
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     forthwith as counsel for the defendant.
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            DONE this _28_ day of August, 2007.

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                                                      RICARDO S. MARTINEZ
24                                                    UNITED STATES DISTRICT JUDGE
     Presented by:
25
     s/ Peter J. Avenia
26 Assistant Federal Public Defender

     ORDER FOR WITHDRAWAL AND                                           FEDERAL PUBLIC DEFENDER
                                                                                  1601 Fifth Avenue, Suite 700
     SUBSTITUTION OF COUNSEL                   -1-                                 Seattle, Washington 98101
     (Thu Van Nguyen; CR07-0029RSM)                                                            (206) 553-1100
